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                                                        THE HONORABLE JOHN C. COUGHENOUR
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                                 UNITED STATES DISTRICT COURT
 7
                                WESTERN DISTRICT OF WASHINGTON
 8                                        AT SEATTLE

 9    STEVEN JAY PINCUS HUETER,                             CASE NO. C21-1271-JCC
10                            Plaintiff,                    MINUTE ORDER
11            v.

12    DEBRA ANN HALLAND, et al.,

13                            Defendants.
14

15          The following Minute Order is made by direction of the Court, the Honorable John C.
16   Coughenour, United States District Judge:
17          This matter comes before the Court on Plaintiff’s motion for reconsideration (Dkt. No.
18   12). “Motions for reconsideration are disfavored.” W.D. Wash. Local Civ. R. 7(h). As a result,
19   the Court will ordinarily deny them “in the absence of a showing of manifest error in the prior
20   ruling or a showing of new facts or legal authority which could not have been brought to its
21   attention earlier with reasonable diligence.” Id. Plaintiff’s motion fails to satisfy this standard.
22   Accordingly, the motion is DENIED.
23          DATED this 28th day of September 2021.
                                                              Ravi Subramanian
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                                                              Clerk of Court
25
                                                              s/Sandra Rawski
26                                                            Deputy Clerk


     MINUTE ORDER
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